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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS


 PROGENY, a program of Destination
 Innovations, Inc., CHRISTOPHER COOPER,
 ELBERT COSTELLO, MARTEL COSTELLO,
 and JEREMY LEVY, JR., on behalf of
 themselves and others similarly situated,


                       Plaintiff(s),                 Case No. 6:21-cv-01100-EFM-ADM

 v.

 CITY OF WICHITA, KANSAS,

                       Defendant.



 PLAINTIFFS’ APPENDIX OF EXHIBITS TO STATEMENT OF MATERIAL FACTS

Exhibit      Description

 1           WPD Gang/Felony Assault Unit Webpage

 2           Chad Beard Deposition Transcript Excerpts

 3           Jason Bartel Deposition Transcript Excerpts

 4           WPD Policy 527

 5           Wendell Nicholson Deposition Transcript Excerpts

 6           Jeff Easter Deposition Transcript Vol. 1 Excerpts

 7           Chad Beard (City of Wichita 30(b)(6)) Deposition Transcript Excerpts

 8           Jeffrey Gilmore Deposition Transcript Excerpts

 9           E-mail from J. Salcido to G. Ramsay (Sept. 24, 2021 3:54 PM)

 10          Timothy Baird (City of Wichita 30(b)(6)) Deposition Transcript Excerpts

 11          Kevin McKenna Deposition Transcript Excerpts

 12          City of Wichita’s Responses to Plaintiffs’ First Request for Admissions
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13          Ana Muñiz Deposition Transcript Excerpts

14          David Inkelaar Deposition Transcript Excerpts

15          Selected E-mails between WPD and Outside Agencies

16          Selected Gang Database Entries

17          Robert Mateo Deposition Transcript Excerpts

18          Jose Salcido Deposition Transcript Excerpts

19          E-mail from C. Beard to C. Pinkston (Apr. 19, 2021 2:39 PM)

20          SOP for Entries into the Gang Database

21          Equal Justice Under Law: Report of the Racial Justice Task Force to the Board of
            Governors of the Wichita Bar Association
22          Gordon Ramsay Deposition Transcript Excerpts

23          Mark Hartman Declaration

24          2020 Census query results for the Wichita, Kansas Metropolitan Area

25          2020 Census query results for Sedgwick County

26          Jeff Easter Deposition Transcript Vol. 2 Excerpts

27          Identification of Gang Members and Associates Using Niche

28          October 2011 Gang Bulletin Leak Documents

29          Selected WPD Affidavits

30          J. Houston Bales Declaration

31          Bach Hang Declaration

32          Jorge De Hoyos Declaration

33          Sonya Strickland Declaration

34          John Speer Deposition Transcript Excerpts

35          Wichita Street Gang/LEO Update 2012 Presentation Excerpts

36          Sage Hemmert Deposition Transcript Excerpts
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37          Wanda Parker-Givens Deposition Transcript Excerpts

38          Jason Tidd, FBI: Glasses found with jail search warrant help ID shooter at American
            Legion, The Wichita Eagle (Mar. 10, 2021 10:34pm)
39          Affidavit of Brandon Monroe (Nicholson Charging Affidavit)

40          Wichita Police Department Performance Appraisal

41          Gang Awareness and Domestic Terrorism: Understanding Gangs

42          Strategies to Address Gang Activity: Suppression, Intervention and Prevention

43          Wichita Gang Data Base Presentation Excerpts

44          Wichita Gang Database Presentation Excerpts

45          Christopher Cooper Declaration

46          Elbert Costello Declaration

47          Martel Costello Declaration

48          Jeremy Levy Declaration

49          Wichita Citizen’s Review Board Report and Recommendation

50          U.S. Attorney’s Office for the District of Columbia Press Release,

51          Stanford University, Mapping Militant Organizations: “Three Percenters,”

52          Robert Thatcher Deposition Transcript Excerpts

53          Selected Gang Mapping Documents

54          E-mail from D. Harty to B. Mumma (July 26, 2019 10:38 PM)

55          Selected Gang Conditions E-mails

56          Juvenile Notice Attempt Log

57          Ramsay Right to Sue Letter

58          Wichita Street Gangs: Gang Identification and Introduction to Criminal Street Gang
            Investigation Presentation
59          Street Gangs in Wichita Presentation

60          Wichita Gang Unit 2003 Basic Gang Manual
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61          Wichita Police Department Street Gang Awareness 2011

62          Selected TOPS Cards

63          Wichita Street Gang Identifiers

64          2012 – General Gang Info

65          Robert Layton Deposition Transcript Excerpts

66          Sample Gang Conditions of Release

67          Selected Gang Conditions E-mails

68          Drug Court Eligibility Criteria

69          Brandon Johnson Deposition Transcript Excerpts

70          Criminal Investigation Record of surveillance and traffic stop

71          Marquetta Atkins Declaration

72          Progeny’s 2nd Supplemental Response to City of Wichita’s Interrogatories

73          Facebook Messages

74          E-mail from C. Carson to C. Beard (Sept. 8, 2022 1:22 PM)

75          Juvenile Notification List

76          Progeny Staff Text Messages

77          Progeny Facebook Post

78          Progeny’s Objections and Responses to City of Wichita’s Interrogatories

79          Marquetta Atkins (Progeny 30(b)(6)) Deposition Transcript Excerpt

80          Christopher Cooper Deposition Transcript Excerpts

81          Christopher Cooper’s Objections and Responses to City of Wichita’s Interrogatories

82          Martel Costello Deposition Transcript Excerpts

83          Martel Costello’s Objections and Responses to City of Wichita’s Interrogatories

84          2019 Journal Entry of Probation Violation Hearing

85          Elbert Costello Deposition Transcript Excerpts
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 86           Elbert Costello’s Supplemental Objections and Responses to City of Wichita’s
              Interrogatories
 87           Elbert Costello’s Objections and Responses to City of Wichita’s Interrogatories

 88           Jeremy Levy Deposition Transcript Excerpts

 89           Jeremy Levy Objections and Responses to City of Wichita’s Interrogatories

Dated: September 29, 2023                             Respectfully submitted,

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